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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually
and on behalf of all others similarly
situated,

Plaintiff,
V.

RESORT CONFIRMATIONS, INC., d/b/a
RCI-Promotions, a Florida corporation,

Defendant.

 

 

Case No. 1:19-cv-01178-CCB

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RECEIVED IN THE OFFICE OF

AUG 15 2019
UNITED STATES DISTRICT JUDGE

NO

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PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Plaintiff Wendell H. Stone Company, Inc. (“Plaintiff”),

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), gives this notice that it voluntarily dismisses all claims

in this action as to itself in its individual capacity without prejudice. Defendant Resort

Confirmations, Inc. (“Defendant”) has neither answered Plaintiff's Complaint, nor filed a motion

for summary judgment. Accordingly, this matter may be dismissed without prejudice without an

Order of the Court.

Dated: August 14, 2019

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Respectfully submitted,

WENDELL H. STONE COMPANY, INC.,
individually and on behalf of all others similarly
situated,

/s/ Steven L. Woodrow
One of Plaintiff's Attorneys

 

Steven L. Woodrow
swoodrow(@woodrowpeluso.com
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